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                                UNITED STATES DISTRICT COURT                                JS-6
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
    Case No.     CV 17-7727 PSG (JEMx)                                       Date    July 5, 2018
    Title        Barry Rosen v. United States Government, Federal Aviation Administration, and City of
                 Santa Monica




    Present: The Honorable      Philip S. Gutierrez, United States District Judge
                    Wendy Hernandez                                          Not Reported
                       Deputy Clerk                                         Court Reporter
             Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                        Not Present                                           Not Present
    Proceedings (In Chambers):         The Court GRANTS Defendants’ motions to dismiss and
                                       RENDERS MOOT Plaintiff’s motion for partial summary
                                       judgment

       Before the Court is Defendants the City of Santa Monica, Federal Aviation
Administration, and United States Government’s (“Defendants”) motions to dismiss, see Dkts. #
57 (“SM Mot.”), 58 (“Fed. Mot.”),1 and Plaintiff Barry Rosen’s (“Plaintiff”) motion for partial
summary judgment, see Dkt. # 80 (“MSJ”). Plaintiff filed oppositions to the motions to dismiss,
see Dkts. # 98 (“Fed. Opp.”), 99 (“SM Opp.”), and Defendants replied, see Dkts. #102 (“Fed.
Reply”), 106 (“SM Reply”). Defendants filed oppositions to the motion for partial summary
judgment, see Dkts. # 92 (“Fed. MSJ Opp.”), 94 (“SM MSJ Opp.”), and Plaintiff replied, see
Dkts. # 109 (“SM MSJ Reply”), 110 (“Fed. MSJ Reply”). The Court finds these matters
appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b); L.R. 7-15. After
considering the moving, opposing, and reply papers, the Court GRANTS Defendants’ motions
to dismiss, and Plaintiff’s motion for summary judgment is RENDERED MOOT.

I.          Background

            A.    Factual History

       The complex background and procedural history of this case is long, involving multiple
other cases, courts, and agencies, and centers on the ongoing disputes about the Santa Monica
Airport (“SMO” or “the Airport), its use, and its future. Plaintiff recounts the major events in
the Airport’s roughly one-hundred year history, including ownership, control, and usage. See

1
 Defendants Federal Aviation Administration and United States Government (collectively, “the
Federal Defendants”) filed a joint motion to dismiss.

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generally Dkt. # 56, Third Amended Complaint (“TAC”). The Court does not find it necessary to
detail the Airport’s entire history here, and will address only the facts it deems relevant to the
present motions.

        In 1981, the Santa Monica City Council adopted a resolution that announced its “intention
to close SMO as soon as legally possible.” SM Mot. 3. Soon after, Defendant the City of Santa
Monica (“the City”) adopted a new “Master Plan” for the Airport in 1983, resulting in Defendant
Federal Aviation Administration (“FAA”) bringing enforcement actions against the City. Id. In
response to these actions, the parties began negotiations which culminated in a settlement
agreement (“the 1984 Agreement”). TAC ¶ 19; SM Mot. 3. The 1984 Agreement released land
restrictions on portions of the Airport for non-aviation purposes and specified that it was
required to operate as an airport only until July 1, 2015. TAC ¶ 19; SM Mot. 3. In 1994, the City
accepted its last federal grant under the contractual requirement that the Airport would continue
to operate for another twenty years, or until June 29, 2014. SM Mot. 3. As the 2015 date
approached, the City Council in December 2010 decided to initiate a “comprehensive public
process” regarding the Airport. Id. In April 2013, the process report concluded that the “status
quo at the Airport was not acceptable to residents.” Id. 3–4.

       The growing public concern, confirmed by the report’s findings, ignited a legal battle
between the City and federal government over myriad issues regarding the Airport. Id. In
October 2013, in an effort to take control of those issues, the City filed a quiet title action (“the
Quiet Title Action”) against the United States seeking a declaratory judgment that the City had
unencumbered title to SMO. See City of Santa Monica v. United States, et al., 650 F. App’x.
326 (9th Cir. 2016); SM Mot. 4; TAC ¶ 24. While the Quiet Title Action was pending, the City
was involved in several other disputes related to its ability to exercise control over Airport
operations and to close SMO. See SM Mot. 4. As a result of these disputes, and following a
lengthy public process, a Consent Decree between the City and the federal government was
proposed, which would: (i) resolve all the outstanding legal disputes between the City and the
federal government; (ii) require the City to operate SMO only until December 31, 2028; and (iii)
grant the City the right to shorten the runway to 3,500 feet. TAC ¶ 27; Fed Mot. 4; SM Mot. 5.
The proposed Consent Decree itself did not dictate the shortening of the runway or the eventual
closure of the Airport; it merely set forth a framework for local control of SMO by the City, and
granted it the right to shorten the runway or close the Airport after 2028. See SM Mot. 9.

       On January 30, 2017, the City and the federal government executed the Consent Decree.
Id. 5–6. On February 1, 2017, the Honorable John F. Walter entered an order approving the
Consent Decree. Id. 6; Fed. Mot. 4. Upon entry by the court, the City made the Consent Decree


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publicly available by posting it on the City’s website and began to hold public hearings to
determine the logistics and details of shortening the Airport’s runway. SM Mot. 6. Defendants
note that Plaintiff was not in attendance at any of the hearings. Id.
         B.      Procedural History
       On October 23, 2017, Plaintiff initiated this action by filing a petition for writ of mandate
and a complaint for declaratory and injunctive relief, as well as an emergency ex parte
application for a temporary restraining order, to enjoin the City from shortening the runway. See
Dkt. # 1, Complaint. Three days later, this Court denied Plaintiff’s ex parte application on
multiple grounds. See Dkt. # 12; SM Mot. 1. Over the course of the following four months
(from mid-November 2017 to mid-March 2018), Plaintiff filed a First, Second, and Third
Amended Complaint. See Dkts. # 28, 44, 56. The City completed the runway shortening project
construction on December 23, 2017. SM Mot. 8. Defendants now move to dismiss Plaintiff’s
TAC, and Plaintiff contemporaneously filed a motion for partial summary judgment.
II.      Legal Standard

         A. 12(b)(1)

       Rule 12(b)(1) of the Federal Rules of Civil Procedure (“FRCP”) governs the dismissal of
a claim at any time prior to final judgment if the court lacks subject matter jurisdiction. It has
been a long recognized rule that “the jurisdiction of the court depends upon the state of things at
the time of the action brought.” Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 570
(2004) (citations omitted). The plaintiff bears the burden of establishing that subject matter
jurisdiction exists. See Valdez v. United States, 56 F.3d 1177, 1179 (9th Cir. 1995). When a
claim does not arise under any federal law, it does not pose a federal question under 28 U.S.C. §
1331. ARCO Envtl. Remediation, LLC v. Dep’t of Health and Envtl. Quality, 213 F.3d 1108,
1113 (9th Cir. 2000).

         B.      12(b)(6)

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must “contain sufficient
factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft
v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007)). In assessing the adequacy of the complaint, the court must accept all pleaded facts as
true and construe them in the light most favorable to the plaintiff. See Turner v. City and County
of San Francisco, 788 F.3d 1206, 1210 (9th Cir. 2015); Cousins v. Lockyer, 568 F.3d 1063, 1067


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(9th Cir. 2009). The court then determines whether the complaint “allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at
678. However, “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Id. Accordingly, “for a complaint to survive a motion to
dismiss, the non-conclusory factual content, and reasonable inferences from that content, must
be plausibly suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572
F.3d 962, 969 (9th Cir. 2009) (internal quotation marks omitted).

         B. Motion for Summary Judgment

        “A party may move for summary judgment, identifying each claim or defense—or the
part of each claim or defense—on which summary judgment is sought. The court shall grant
summary judgment if the movant shows that there is no genuine dispute as to any material fact
and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

       A party seeking summary judgment bears the initial burden of informing the court of the
basis for its motion and identifying those portions of the pleadings and discovery responses that
demonstrate the absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477
U.S. 317, 323 (1986). If the nonmoving party will have the burden of proof at trial, the movant
can prevail by pointing out that there is an absence of evidence to support the moving party’s
case. See id. If the moving party meets its initial burden, the nonmoving party must set forth, by
affidavit or as otherwise provided in Rule 56, “specific facts showing that there is a genuine
issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       In judging evidence at the summary judgment stage, the court does not make credibility
determinations or weigh conflicting evidence. Rather, it draws all reasonable inferences in the
light most favorable to the nonmoving party. See T.W. Elec. Serv., Inc. v. Pacific Elec.
Contractors Ass’n, 809 F.2d 626, 630–31 (9th Cir. 1987). The evidence presented by the parties
must be admissible. See Fed. R. Civ. P. 56(e). Conclusory, speculative testimony in affidavits
and moving papers is insufficient to raise genuine issues of fact and defeat summary judgment.
See Thornhill Publ’g Co., Inc. v. Gen. Tel. & Elecs. Corp., 594 F.2d 730, 738 (9th Cir. 1979).

III.     Discussion

       Plaintiff seeks declaratory relief, a writ of mandate, and injunctive relief. See TAC ¶¶
117, 134, 144. Specifically, Plaintiff seeks a declaration that the 2013 lawsuit between the City
and United States is invalid ab initio on six different grounds; a declaration ordering vacatur of


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the Consent Decree and portions of the 1984 Agreement between the FAA and the City; a
declaration that the signatures on the Consent Decree are not binding; a writ of mandate
directing the FAA to comply with the Administrative Procedure Act (“APA”) and National
Environmental Policy Act (“NEPA”); a writ of mandate directing FAA to ensure the City
complies with FAA regulations; a writ of mandate for the City to comply with all environmental
obligations under NEPA, the California Environmental Quality Act (“CEQA”), and other
regulations; a writ of mandate directing the City to comply with all State and local regulations; a
writ of mandate directing the FAA to retain jurisdiction to ensure that the City complies with
FAA regulations; a writ of mandate directing the City to choose between fees or a shortened
runway; preliminary and permanent injunctive relief to cease any actions related to the Consent
Decree; orders or declarations that the City and the FAA violated their ministerial obligations;
and fees and costs. Id. ¶¶ 144–169.

       Plaintiff asserts a wide range of claims that do not form cognizable causes of action,
including “Invalid Contract with Outside Counsel,” “Santa Monica had absolutely no right to
bring an Action pursuant to 28 U.S.C. § 2675, et al.,” “The Court Lack Jurisdiction over CSM’s
Action,” “FAA Overstepped its Authority in the 1984 Agreement,” “The [Consent] Decree is
Invalid ab initio because FAA Overstepped its Authority,” “[Consent] Decree is Invalid due to
City Council Conflict of Interest,” “Violations of the Local Regulations and CEQA,” and
“Failure to Enforce Federal Regulations Governing Public Airports.” Id. ¶¶ 30, 34, 40, 45, 51,
97, 102, 111. The Court will attempt to group Plaintiff’s allegations into three categories: claims
surrounding the alleged violation of federal statutes and regulations; claims related to the 1984
Agreement; and claims involving the Airport litigation, settlement agreement, and Consent
Decree. The Court now turns to Defendants’ motions to dismiss those claims.

         A.           Defendants’ Motions to Dismiss

                 i.       Lack of Subject Matter Jurisdiction

       All Defendants move to dismiss on the grounds that the Court lacks subject matter
jurisdiction because Plaintiff lacks standing to bring his claims; they argue that he does not
allege a concrete injury, and any possible injury he could have is not redressable by this Court.
See generally Fed. Mot.; SM Mot. To establish Article III standing, a plaintiff must demonstrate
that he (1) “suffer[s] an ‘injury in fact’ which is (a) concrete and particularized and (b) ‘actual or
imminent, not conjectural or hypothetical,’” (2) “the injury has to be fairly traceable to the
challenged action of the defendant,” and (3) “the injury will be ‘redressed by a favorable
decision.’” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (citations omitted). These three


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elements must also be met when a plaintiff seeks relief under the Declaratory Judgment Act. See
Principal Life Ins. Co. v. Robinson, 394 F.3d 665, 669–70 (9th Cir. 2005) (“Requirement that a
case or controversy exists under the Declaratory Judgment Act is identical to Article III’s”).

                        a.     Federal Claims and Regulations

        Plaintiff brings many claims against the Federal Defendants on the basis that they have
violated federal statutes and regulations, including the APA, NEPA, and FAA regulations, by,
for instance, failing to file the correct claims, failing to allow for the proper amount of time to
pass, failing to conduct the required environmental tests, and failing to enforce their own
regulations. See TAC ¶¶ 56, 70, 111, 148–163. As with all of his claims, Plaintiff must establish
injury in fact and redressability to demonstrate that he has standing. See Lujan, 504 U.S. at 560.

        Plaintiff spends many pages in his TAC detailing the history of the Airport and the
litigation surrounding it; he devotes little time to his own relationship to any of those events. He
states that as “a licensed pilot. . . [and] a user of the Airport. . . [and] owner of an aircraft based
at the airport. . . [that he] has been injured and continues to face damages. . .” TAC ¶¶ 1, 9. He
does not offer any specifics as to what that injury might be or what his damages are, or how
those might be measured. The statement that he is the owner of an aircraft at the Airport is not
sufficient to establish a concrete or particularized injury, nor is the conclusory statement that he
“has been injured.” See Lujan, 504 U.S. at 560 (“Injury in fact must be concrete and
particularized. . .”). Plaintiff also states that he “is aware of numerous violations of such
regulations, including the fact that the City of Santa Monica has been very discriminatory
towards aviation in general and has engaged in numerous activities to keep or otherwise exclude
aviation interests in general . . .” and that he has been on the “hangar waiting list (which is very
long)” for a few years. Id. ¶¶ 1, 9, 113. Plaintiff does not describe in any way how he has been
discriminated against, nor does he allege any damages or costs he has suffered as a result of
being on the hangar waiting list.
       In short, Plaintiff has not sufficiently alleged any concrete or particularized injury as a
traceable to any of the alleged federal violations, and thus the first and second prongs of the
standing inquiry fail.

       Furthernmore, to meet the third element, Plaintiff must establish that his harms are
redressable by the Court. He falls short here as well. Even if the Court were to find a concrete
and traceable injury, Plaintiff must prove that the “injury will be redressed by a favorable
decision.” Lujan, 504 U.S. at 560. Plaintiff has not explained, for instance, how “vacatur of


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portions of the 1984 Agreement” could redress any injury he might have. TAC ¶ 67. In any
event, the Court cannot redress Plaintiff’s alleged injuries; a court has no authority to review a
discretionary agency decision regarding enforcement of the agency’s regulations. See Hosseini
v. Gonzales, 471 F. 3d 953, 956 (9th Cir. 2006) (“An agency’s discretionary decisions are
insulated from judicial review, whereas non-discretionary decisions can be challenged in
court.”); People for the Ethical Treatment of Animals, Inc. v. USDA, 797 F.3d 1087 (D.C. Cir.
2015). “[A]n agency’s decision not to take enforcement action should be presumed immune from
judicial review under [5 U.S.C.] § 701(a)(2).”); Heckler v. Chaney, 470 U.S. 821, 832 (1985).

      Plaintiff has thus failed to establish standing to bring claims regarding the Federal
Defendants’ alleged violations.

                               b.     The 1984 Agreement

       Plaintiff also seeks to invalidate portions of the 1984 Agreement between the City and the
FAA regarding certain land on the Airport property being repurposed for non-aviation uses. See
TAC ¶¶ 126, 146, 155. Plaintiff has not offered any facts about how an agreement made over 30
years ago and resulting in the repurposing of a portion of the Airport’s land injured him in any
way, nor how any concrete injury could be traced to the 1984 Agreement.

       Furthermore, the 1984 Agreement expired in 2015, so even if Plaintiff alleged an injury,
the Court could not redress it. Any claim Plaintiff might have arising from the 1984 Agreement
is moot. See ACLU of Mass. v. U.S. Conference of Catholic Bishops, 705 F.3d 44, 55 (1st Cir.
2013) (affirming dismissal on mootness grounds where plaintiff sought relief against expired
agreement).1

                        c.     Airport Litigation, Resulting Settlement, and Consent Decree

       Plaintiff seeks to invalidate the entire prior Airport litigation, resulting settlement, and
Consent Decree because he takes issue with the shortening of the runway and the future closure
of the Airport. See TAC ¶¶ 148–156. As with the other claims, Plaintiff has not alleged a
concrete injury. See Fed. Mot. 11. Rather, he alleges that other pilots have been injured by the
shortening of the runway, stating that the resulting “very dangerous situation” caused “numerous

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  Defendants also note that any cause of action Plaintiff asserts relating to the 1984 Agreement is
time-barred by the statute of limitations; because the Court determines Plaintiff has not alleged
any injury and his claims are moot, it need not reach this issue.

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problems from [sic] pilots, including but not limited to missed approaches . . . delays at other
airports and additional costs to other aircraft operators and or [sic] potential aircraft spacing
issues.” Id. ¶ 66. However, Plaintiff does not allege that he himself experienced any of these
issues, and he does not even point to any concrete examples of these “numerous problems”
related to other pilots. See id. ¶¶ 65–66. Plaintiff alleges no injury to himself other than the
previously discussed assertion that he owns an aircraft; further, any injury that could arise from
the closure of the Airport is far too speculative and distant to confer Article III standing, given
that it is over a decade away and is far from a certainty.1 See Fed. Mot. 9–10. The Court agrees
with Defendants that Plaintiff has not stated a concrete, particularized, actual, or imminent
injury.

        Even if Plaintiff had alleged injury, the redressability requirement would not be met here
either. Plaintiff seeks to force either the City, the FAA, or a third party to re-lengthen the
runway and prevent the Airport from closing in the future. See generally TAC. If the Court
found the prior litigation, settlement agreement, or Consent Decree to be invalid on any grounds,
that would neither result in a reversal of the runway shortening project nor force the Airport to
continue operating after 2028. At most, the ownership and control of the Airport and
relationship between the City and the FAA would revert back to its previous state before the
litigation, settlement, and Consent Decree occurred. See Fed. Mot. 10–11. Therefore, any injury
to Plaintiff from the runway shortening or future closure would not be redressed by a favorable
decision here.

      Plaintiff has failed, therefore, to establish Article III standing to bring any of his claims,
because he has no concrete injury traceable to Defendants that is redressable by the Court.

                        ii.    Private Attorney General

      Plaintiff “also brings this action as a Private Attorney General under the Private Attorney
General Doctrine in the public interest for the benefit of other persons similarly affected or

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 Furthermore, the potential closure of the Airport under the Consent Decree can happen, at the
earliest, after December 31, 2028. See SM Mot. 9–10. Therefore, any potential injury is far too
speculative to be addressed at this point in time. See Marino v. Country wide Fin. Corp., 26
F.Supp.3d 955, 960 (C.D. Cal. 2014) (“[A] claim is not ripe for adjudication if it rests upon
‘contingent future events that may not occur as anticipated, or indeed may not occur at all.’”)
(quoting Texas v. United States, 523 U.S. 296, 300 (1998)).


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situated. . . due to there being hundreds if not thousands of persons that are similarly affected or
situated.” TAC ¶¶ 1, 10. A plaintiff cannot allege grievances on behalf of the public unless the
statute at issue provides him with such authority. See Angela v. City of Albuquerque, 1:15-CV-
01048 WJ-LF, 2016 WL 10720431, *3 (D.N.M. Feb. 16, 2016) (finding a plaintiff claiming he
or she is a private attorney general still must have statutory basis); 31 U.S.C. § 3730(b). Plaintiff
does not bring any claims under a statute that qualifies him to act as a private attorney general.
See generally TAC.

        Even if Plaintiff asserted a claim that provided the right to act as a private attorney
general, which he does not, he is still not exempt from meeting Article III standing requirements
in federal court. See Mangini v. R.J. Reynolds Tobacco Co., 793 F. Supp. 925, 929 (N.D. Cal.
1992) (holding that a state-created statutory right to act as a private attorney general does not
confer Article III standing in federal court); Mortera v. N. Am. Mortg. Co., 172 F. Supp. 2d
1240, 1243–44 (N.D. Cal. 2001). The Court has already determined that Plaintiff lacks Article
III standing, and he also fails to establish the authority to bring any cause of action as a private
attorney general.

                 iii.   Conclusion

      Plaintiff has wholly failed to establish that he has standing to bring any of his claims.
Therefore, the Court GRANTS Defendants’ motions to dismiss.

         B.      Plaintiff’s Motion for Partial Summary Judgment

       Plaintiff filed a motion for partial summary judgment on May 21, 2018, less than a month
after Defendants filed their respective motions to dismiss on April 23, 2018. See Dkts. # 57, 58,
80. Because the Court grants Defendants’ motions to dismiss, it need not address whether the
timing of Plaintiff’s motion was proper. Plaintiff’s motion for partial summary judgment is
RENDERED MOOT.

IV.      Leave to Amend

       Whether to grant leave to amend rests in the sound discretion of the trial court. See Bonin
v. Calderon, 59 F.3d 815, 845 (9th Cir. 1995). The Court considers whether leave to amend
would cause undue delay or prejudice to the opposing party, and whether granting leave to
amend would be futile. See Sisseton-Wahpeton Sioux Tribe v. United States, 90 F.3d 351, 355
(9th Cir. 1996). Generally, dismissal without leave to amend is improper “unless it is clear that


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the complaint could not be saved by any amendment.” Jackson v. Carey, 353 F.3d 750, 758 (9th
Cir. 2003).

       Because Plaintiff has already amended his complaint three times and still fails to establish
the threshold standing requirement, the Court determines that amendment would be futile.
Accordingly, the Court DENIES Plaintiff leave to amend.

V.       Conclusion

       For the foregoing reasons, the Court GRANTS Defendants’ motions to dismiss without
leave to amend. Plaintiffs’ motion for partial summary judgment is RENDERED MOOT.

         This order closes the case.

         IT IS SO ORDERED.




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